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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                                AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,
                                          §
        Plaintiffs,                       §
                                          §
vs.                                       §   Civil Action No. 1:17-cv-00365
                                          §
GRANDE COMMUNICATIONS                     §
NETWORKS LLC and PATRIOT MEDIA            §
CONSULTING, LLC.,                         §
                                          §
        Defendants.                       §

       PLAINTIFFS’ OPPOSITION TO DEFENDANT GRANDE COMMUNICATIONS
            NETWORKS LLC’s MOTION FOR SUMMARY JUDGMENT, AND
      PLAINTIFFS’ CROSS-MOTION FOR SUMMARY JUDGMENT AS TO LIABILITY
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                                       INTRODUCTION

       For years, Defendant Grande Communications Networks LLC (“Grande”) has knowingly

facilitated, and greatly profited from, its internet service subscribers’ massive infringement of

sound recordings through the BitTorrent peer-to-peer platform—including specifically Plaintiffs’

copyrighted recordings identified in Exhibit A to Plaintiffs’ Complaint (the “Copyrighted

Recordings”). 1   The record evidence and relevant law conclusively establish Plaintiffs’

entitlement to summary judgment that Grande is liable for contributory copyright infringement. 2

       In the face of the overwhelming evidence and authorities against it, Grande’s own

summary judgment motion resorts to mischaracterizations of the record, misstatements of the

law, and unsupported pronouncements that Plaintiffs supposedly lack evidence.            None of

Grande’s summary judgment arguments has any merit.

       First, Rightscorp, Inc. (“Rightscorp”) detected, and notified Grande of, a massive

number of instances of direct infringement by Grande’s subscribers through Grande’s

network. The Rightscorp system works. Grande never questioned its operation in the ordinary

course of business. Indeed, when Grande terminated a handful of users as repeat copyright

infringers in an unavailing effort to salvage the safe harbor defense after this lawsuit was filed,

Grande terminated subscribers whom Rightscorp identified as repeat infringers in its notices to

Grande. Grande’s litigation position now depends on ignoring these facts, as well as the


1
  Because Grande did not adopt, let alone reasonably implement, a policy of terminating repeat
infringing subscribers, Grande cannot meet the DMCA’s stringent safe harbor requirements, and
thus has no DMCA safe harbor defense to Plaintiffs’ claims. See Plaintiffs’ Motion for Partial
Summary Judgment & Reply in Support [Dkt. 127, 167].
2
  Plaintiffs will establish Grande’s willfulness, and Plaintiffs’ damages, at trial. Granting
Plaintiffs’ Cross-Motion will significantly streamline the remaining pretrial proceedings and
narrow the scope of the trial. To avoid duplication of evidence and arguments, Plaintiffs have
combined their opposition to Grande’s summary judgment motion, and Plaintiffs’ own
affirmative motion, into a single pleading that does not exceed the combined page limits that
would have applied to two briefs.

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extensive data and technical information provided in discovery. All of this evidence confirms

that Rightscorp’s technology—which was already analyzed extensively, and confirmed as

reliable, by the courts and jury in BMG Rights Management (US) LLC v. Cox Communications,

Inc.—effectively detects online infringement. Unable to show any flaws in the Rightscorp

system, Grande is forced to mischaracterize the system’s operation, asserting, wrongly, that it

does not detect the actual distribution of Plaintiffs’ Copyrighted Recordings. The opposite is

true, as fact and expert discovery demonstrate.

       Grande fares no better in arguing that Plaintiffs cannot demonstrate their works were the

ones that Rightscorp detected were being infringed. Both Rightscorp and the Recording Industry

Association of America (“RIAA”) (Plaintiffs’ trade association) confirmed that the audio files

Rightscorp obtained from infringing Grande subscribers were identical infringing copies of

Plaintiffs’ Copyrighted Recordings.

       Finally, Grande’s claim that peer-to-peer file sharing somehow does not amount to

infringement verges on the frivolous. Numerous courts have held otherwise and Grande fails to

identify a single court that has adopted Grande’s argument.

       Second, the law and the facts establish that Grande is liable for contributory

infringement through Grande’s continued provision of internet service to subscribers

whom Grande knew were downloading and sharing sound recordings (including Plaintiffs’

Copyrighted Recordings).        The undisputed evidence—including the Rightscorp notices,

Grande’s contemporaneous emails, and its witnesses’ testimony—confirm that, for years, Grande

has known of its subscribers’ infringing activity. And Grande has facilitated that conduct, by

providing the internet service used to infringe Plaintiffs’ Copyrighted Recordings. Grande’s

rehashing of failed legal arguments and its incorrect claims that Plaintiffs lack evidence to




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support their case fall far short of rebutting Plaintiffs’ entitlement to relief or satisfying Grande’s

own summary judgment burden.

        Third, Grande’s hodgepodge of other undeveloped arguments provides no basis for

granting it summary judgment or for denying Plaintiffs summary judgment.

        x   Plaintiffs have adduced abundant evidence that Grande’s contributory infringement
            was willful (which includes both intentional and reckless conduct)—including its
            wholesale failure to terminate any repeat infringing customer before this lawsuit was
            filed, and its possible spoliation of inculpatory internal emails in the wake of the Cox
            verdict.

        x   Grande’s argument as to Plaintiffs’ actual damages is misplaced. While Plaintiffs
            most likely will elect to seek statutory damages, Plaintiffs have more than sufficient
            evidence for a jury to award Plaintiffs the ill-gotten profits that Grande has made
            from providing internet service to known repeat infringing subscribers.

        x   Although Plaintiffs do not need the discovery rule for liability purposes—because
            Plaintiffs can show each Copyrighted Recording was illegally shared on Grande’s
            network in the three years preceding Plaintiffs’ filing suit—the discovery rule
            remains good law for copyright infringement, and Plaintiffs have evidence entitling
            them to its application with respect to the extent of Plaintiffs’ damages.

        x   Grande’s unsupported assertions notwithstanding, Plaintiffs’ evidence conclusively
            proves ownership of or exclusive rights to each of the Copyrighted Recordings.

        For these reasons, as more fully explained below, the Court should deny Grande’s motion

in its entirety and grant Plaintiffs’ cross-motion as to liability.

                    STATEMENT OF UNDISPUTED MATERIAL FACTS

        Plaintiffs’ evidence establishing their entitlement to summary judgment, and defeating

Grande’s summary judgment motion, includes: (1) documents, data, and testimony from

Rightscorp, the online detection company that played a central role in Cox on nearly identical

facts; (2) Grande’s own documents and witnesses; (3) the expert analyses and opinions of

Plaintiffs’ experts—Barbara Frederiksen-Cross, Robert Bardwell, Terrence McGarty, and

William Lehr—all of whom testified on behalf of the plaintiff in Cox; and (4) Plaintiffs’



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executives testifying as to the evidence demonstrating Plaintiffs’ ownership of or exclusive rights

to Plaintiffs’ Copyrighted Recordings.

          1.     Plaintiffs are the leading music companies in the world. Their business depends

on developing and protecting their copyrighted works. Plaintiffs own, or have the exclusive

rights to, each of Plaintiffs’ Copyrighted Recordings. 3 Ex. A, Declaration of Alasdair McMullan

(Universal Plaintiffs); Ex. B, Declaration of Wade Leak (Sony Plaintiffs); Ex. C, Declaration of

Steve Poltorak (Warner Plaintiffs). 4

          2.     For nearly two decades, Plaintiffs and the music industry as a whole have been

under assault from internet piracy, in a variety of forms. As Plaintiffs’ expert, Dr. William Lehr,

a telecommunications and music industry economist at MIT, explains, online infringement of

sound recordings, including through peer-to-peer file sharing systems such as BitTorrent, is

widely recognized as a massive and persistent problem for record companies, who have seen

dramatic declines in their revenues since the advent of internet piracy. Ex. D, Expert Report of

Dr. William Lehr ¶¶ 13, 19-26; Ex. E, Deposition of Neil Carfora at 29:3-29:20 and 101:21-

106:19; Ex. F, Rebuttal Expert Report of Dr. William Lehr; Ex. G, Deposition of David

Benjamin (rough draft), 164-169.

          3.     For years, Grande, an internet service provider (“ISP”), has facilitated the massive

online infringement of Plaintiffs’ works by Grande’s subscribers.            Rightscorp uncovered

Grande’s misconduct. Rightscorp deploys a technology designed to monitor BitTorrent peer-to-

peer file sharing networks and websites and to collect and verify evidence of online file sharing

of its customers’ copyrighted works. Ex. H, Expert Report of Barbara Frederiksen-Cross ¶ 44;

Ex. I, Declaration of Greg Boswell ¶¶ 12-14.


3
    See Compl. Ex. A [Dkt. 1]
4
    By agreement with Grande, Mr. Poltorak’s declaration will be filed later this week.

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       4.      Rightscorp collects information from rightsholders regarding the copyrights being

monitored, including at a minimum the name of the copyrighted work, the artist or writer

(depending on whether it is a sound recording or musical composition), and other identifying

information, including copyright registration numbers and Internet Standard Recording Code

(ISRC) numbers. Ex. J, Deposition of Christopher Sabec, 177:21-178:18. Rightscorp then

obtains examples of torrent files being exchanged through BitTorrent that contain these

copyrighted works, using digital verification technology and manual quality control

confirmation. Ex. J, Sabec Dep., 176:12-177:12; Ex. I, Boswell Decl. ¶¶ 3, 7-9.

       5.      After collecting and verifying the evidence, the Rightscorp system prepares and

sends notices to the offender’s ISP to notify the ISP of the claimed infringing activity. Ex. H,

Frederiksen-Cross Report ¶ 44. Each notice provides detailed information about the infringing

activity, including IP addresses, port numbers, time stamps, song titles, artist names, and

copyright holders. Ex. H, Frederiksen-Cross Report ¶ 72-73; Ex. I, Boswell Decl. ¶ 11. The

Rightscorp system also provides ISPs a web-based “Dashboard” that permits review of the

evidence Rightscorp collects and the notices it produces. Ex. H, Frederiksen-Cross Report ¶¶

78-86; Ex. I, Boswell Decl. ¶ 11.

       6.      Using this system, Rightscorp detected, and sent notices to Grande about, more

than 1.35 million instances of copyright infringement by Grande subscribers. Ex. I, Boswell

Decl. ¶ 12. Dr. Robert Bardwell analyzed the Rightscorp notices and confirmed that at least

344,450 of these notices relate to Plaintiffs’ Copyrighted Recordings. Ex. K, Expert Report of

Dr. Robert Bardwell, p. 9.

       7.      In addition, for each of Plaintiffs’ Copyrighted Recordings listed in Exhibit A to

the Complaint, Rightscorp has obtained a full copy of the infringing file, downloaded directly

from a Grande subscriber who shared the file through BitTorrent, and about whom Rightscorp

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sent Grande a notice of infringement. Ex. I, Boswell Decl. ¶¶ 13-14; Ex. H, Frederiksen-Cross

Report ¶¶ 46, 60-62.

       8.     Rightscorp provided those infringing audio files to the RIAA. The RIAA then

used the Audible Magic digital fingerprinting technology to determine that those files are an

exact match with Plaintiffs’ Copyrighted Recordings. Audible Magic is an automatic content

recognition technology that scans the perceptual characteristics of a sound recording. The tool

compares the characteristics of the sound recording to the content that has been registered in

Audible Magic’s database (what Audible Magic calls its “Global Content Registry”). If the tool

returns a “match” condition, that indicates that the sound recording contains copyrighted content

that has been registered with Audible Magic by the copyright owner. Using the Audible Magic

tool, the RIAA confirmed that each of Plaintiffs’ Copyrighted Recordings is reflected in at least

one .mp3 audio file that Rightscorp downloaded from at least one Grande internet service

subscriber. Ex. L, Declaration of Jeremy Landis. For more than two-thirds of the works in

Exhibit A, Plaintiffs have produced multiple whole infringing copies obtained by Rightscorp

from Grande subscribers. Ex. L, Landis Decl., Ex. 1. In fact, for more than one-third of the

works in suit, Rightscorp obtained (and Plaintiffs have produced) at least 10 full copies of

infringing files that have been matched to the master copy using Audible Magic. Id.

       9.     Grande’s own documents and witness testimony further demonstrate the

copyright infringement occurring on Grande’s network. Grande’s internet systems manager

testified that the company has known for years of its customers’ copyright infringement, both

through notices from companies like Rightscorp, as well as by examining customers’ bandwidth

usage. Ex. M, Deposition of Colin Bloch, 46:11-49:18.

       10.    Numerous internal documents reflect Grande employees’ discussions with its

customers, or with each other, about the customers’ online infringement. Internal documents

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also reveal Grande’s knowledge that the company continued to provide service to numerous

customers for whom Grande had received multiple infringement notices. Ex. N, PX 69, Ex. O,

PX 137, Ex. P, PX 140, Ex. Q, PX 169.

         11.     Numerous companies other than Rightscorp informed Grande of tens of thousands

of instances of copyright infringement occurring on its network. For example, an internal

breakdown provided to senior Grande personnel listed almost two dozen other companies that

sent notices to Grande, including several that sent more than 10,000 notices in 2015 alone. Ex. R,

PX 107 (GRANDE1438324). And Grande’s internal discussion of these notices reflect Grande’s

actual knowledge of what the notices reflect: “This is a notice that someone at that facility using

the Grande provided data connection (GMAN), has illegally downloaded copyrighted content.”

Ex. N, PX 69 (emphasis added).

         12.     In fact, Grande tracked repeat infringing customers with precision, cataloging

their misconduct in “Excess Violations” reports.            Ex. S, GRANDE0000194, Ex. T,

GRANDE0000195. 5

         13.     In 2016, following the Cox verdict in which BMG was awarded $25 million for

contributory copyright infringement and $8 million in attorneys’ fees based on Rightscorp

notices substantially identical to those sent to Grande, Grande identified a technical error in its

system that had resulted in notices from Rightscorp not being forwarded to Grande customers.

Ex. U, PX 181.

         14.     Ultimately, after reviewing its past processing of Rightscorp notices and with the

full benefit of the public record (and verdict) in the Cox trial, Grande decided to forward

Rightscorp notices to Grande subscribers, as reflected in Grande’s own records. Ex. V (PX 173

excerpt); Ex. W, Rule 30(b)(6) Deposition of Stephanie Christianson, 183:23-184:22.

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    These documents were produced as large native excel files. These exhibits represent excerpts.

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         15.   Dr. Bardwell analyzed Grande infringement tracking data and found that Grande

forwarded 11,841 Rightscorp notices to customers in 2016 alone. Ex. K, Bardwell Report, pp.

25-26.

         16.   Also following the Cox verdict, a senior Grande executive repeatedly suggested

that the company should delete emails to avoid having the sort of inculpating evidence that led to

Cox Communications (another ISP) being found liable. Ex. X, PX 206; Ex. Y, PX 207.

         17.   Grande provided ongoing service to tens of thousands of known repeat infringers,

refusing to terminate a single customer for copyright infringement from October 2010 until June

2017—two months after this lawsuit was filed. Ex. Z, Expert Report of Dr. Terrence McGarty ¶

43, 54-59; see also Pls.’ Mot. for Partial S.J. [Dkt. 127]. Analyzing Rightscorp’s and Grande’s

data, Dr. Robert Bardwell identified at least 5,939 repeat infringing Grande customers who

infringed one or more of Plaintiffs’ Copyrighted Recordings. Ex. K, Bardwell Expert Report,

pp. 6, 22-23; Ex. AA, Rebuttal Expert Report of Dr. Robert Bardwell, pp. 3, 10.

         18.   After this case was filed, Grande terminated just twelve subscribers in 2017 and

2018, including subscribers whom Rightscorp had identified as repeat infringers. Ex. BB,

GRANDE1438198; Ex. CC, PX 60; Ex. DD, PX 61 (GRANDE0000199).

         19.   Grande’s Rule 30(b)(6) corporate representative, as well as its general manager,

confirmed that these few customers were terminated not out of an “abundance of caution” (as

Grande asserted in its litigation discovery responses), but because they were repeat infringers

according to the notices that Grande received. “Q. And you’ve kicked off 11 people in 2017? A.

Since this policy changed, that’s correct, to the best of my knowledge. Q. They were repeat

infringers? A. (Nods head.) Q. Is that a yes? A. Yes.” Ex. EE, Deposition of Matthew Rohre,

106:14-20. “Q. So I’m asking, did Grande terminate the 12 infringers it’s terminated since May

2017 under its DMCA policy and procedure? A. Yes. Q. And Grande did so because it

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determined the circumstances were appropriate to terminate them as repeat copyright infringers

under its DMCA policy and procedure? A. Yes.” Ex. W, S. Christianson 30(b)(6) Dep., 35:2-13.

       20.     Grande’s general manager admitted that subscribers who had engaged in similar

conduct in the past would have been terminated had Grande’s current policy been in place prior

to 2017. Ex. EE, Rohre Dep. 141:8-16;142:12-17.

       21.     Grande provided internet service to thousands of known infringing customers,

thereby facilitating their infringement. As Dr. Terrence P. McGarty, an experienced executive

with multiple internet service providers, explains, Grande’s high-speed internet service facilitates

the sharing of copyrighted materials, because of the speed and bandwidth made available by the

type of advanced broadband network Grande provides its customers. Ex. Z, McGarty Expert

Report ¶ 38.

       22.     Grande was aware that if it merely sent emails to its customers who were the

subject of DMCA infringement notices, without terminating repeat infringing customers, that

could render it ineligible for the DMCA safe harbor. Ex. FF, PX 91 (GRANDE0000009). Yet

for years, that is all the company did. See supra ¶ 17.

       23.     Grande profited greatly from the repeat infringers it serviced: Dr. Lehr calculates

that, from 2013 to the present, Grande reaped profits of as much as $102.9 million just from

providing internet service to known repeat infringing customers. Ex. D, Lehr Expert Report ¶¶

13, 38-43.

                                      LEGAL STANDARD

       Summary judgment is proper if “there is no genuine dispute as to any material fact and

the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); Celotex Corp. v.

Catrett, 477 U.S. 317, 322-23 (1986); Turner v. Baylor Richardson Med. Ctr., 476 F.3d 337, 343

(5th Cir. 2007). A factual dispute is genuine only if there is sufficient evidence for a reasonable

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jury to find for the non-moving party. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248-

249, 252 (1986) (a “mere existence of a scintilla of evidence…[is] insufficient” to oppose

summary judgment). “A party cannot defeat summary judgment with conclusory allegations,

unsubstantiated assertions, or ‘only a scintilla of evidence.’” Turner, 476 F.3d at 343 (citing

Anderson).

                                         ARGUMENT

  I.     THE RECORD EVIDENCE ESTABLISHES MASSIVE DIRECT INFRINGEMENT BY GRANDE
         SUBSCRIBERS.

         Grande’s claim that Plaintiffs cannot prove direct infringement, Def. Mot. at 4, is

squarely contradicted by the facts.     Plaintiffs have produced extensive, detailed evidence

showing the direct infringement of Plaintiffs’ Copyrighted Recordings by Grande’s users,

reflected in notices Grande has received from Rightscorp identifying instances of such

infringement, as well as entire audio files that Rightscorp downloaded from Grande subscribers,

which match Plaintiffs’ Copyrighted Recordings.

         A. Grande Received More Than One Million Notices From Rightscorp, Each
            Providing Evidence Of Direct Copyright Infringement.

         Direct liability is imposed on those who “trespass[ ] into [the copyright owner’s]

exclusive domain by using or authorizing the use of the copyrighted work. . . .” BWP Media

USA, Inc. v. T & S Software Assocs., Inc., 852 F.3d 436, 439 (5th Cir.), cert. denied, 138 S. Ct.

236 (2017) (citing Sony Corp. of America v. Universal City Studios, Inc., 464 U.S. 417, 433,

(1984)). “Both uploading and downloading copyrighted material are infringing acts. The former

violates the copyright holder’s right to distribution, the latter the right to reproduction.”

Columbia Pictures Indus., Inc. v. Fung, 710 F.3d 1020, 1034 (9th Cir. 2013).

         The Rightscorp notices demonstrate that online infringement has occurred for years on

Grande’s network.     Each Rightscorp notice is direct evidence of a Grande subscriber (1)


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providing specific information to BitTorrent users (and to Rightscorp) that he or she possesses

the copyrighted sound recording that those BitTorrent users (and Rightscorp) have requested,

and (2) beginning to distribute the sound recording, which is only halted by the Rightscorp

system. Ex. I, Boswell Decl., ¶¶ 6-10; Ex. H, Frederiksen-Cross Report ¶¶ 56-58. Rightscorp

detected and sent to Grande a notice for each of Plaintiffs’ Copyrighted Works. Ex. I, Boswell

Decl. ¶ 12; Ex. K, Bardwell Report, p. 9. In total, Rightscorp detected and notified Grande of at

least 5,939 repeat infringers who infringed at least one of Plaintiffs’ Copyrighted Recordings.

Statement of Undisputed Material Facts (“SUF”) ¶ 16.

       Grande argues that Rightscorp notices merely reflect that users are making files available

and thus are not evidence of direct infringement. See Def. Mot. at 7-8. Grande is wrong for two

reasons.

       First, Grande misrepresents the law of copyright infringement in the Fifth Circuit.

“‘Copying’ is a judicial shorthand for the infringement of any of a copyright owner’s exclusive

rights.” Playboy Enterprises, Inc. v. Webbworld, Inc., 991 F. Supp. 543, 550–51 (N.D. Tex.

1997), aff’d, 168 F.3d 486 (5th Cir. 1999). In BWP Media, the Fifth Circuit held that defendants

can be liable for direct infringement where they have “provided the means to obtain and transmit

copyrighted performances.”     852 F.3d at 442 (analyzing the Supreme Court’s decision in

American Broadcast. Co., Inc. v. Aereo, Inc., 134 S. Ct. 2498 (2014), and concluding that direct

infringement liability can attach where the defendant “provided access and the means to transmit

the infringing material”).

       Grande nonetheless argues that “[c]ourts consistently hold that merely making

copyrighted works available to others does not violate the distribution right.” Def. Mot. at 7.

This claim is demonstrably false. Not only does Grande ignore the Fifth Circuit’s BWP Media

decision, it also ignores that this Court has specifically distinguished peer-to-peer file sharing

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from Grande’s “making available” cases. In Warner Bros. Records v. Payne, No. W-06-CA-

051, 2006 WL 2844415 (W.D. Tex. July 17, 2006), the plaintiffs argued that a peer-to-peer

user’s listing of copyrighted works on an online filesharing service was an offer to distribute

those works that constituted direct infringement. This Court cited the Ninth Circuit’s Napster

decision in reiterating that “[l]isting unauthorized copies of sound recordings using an online

file-sharing system constitutes an offer to distribute those works, thereby violating a copyright

owner’s exclusive right of distribution.” Id. at *3. 6 Indeed, this Court in Payne noted that

“[m]aking an unauthorized copy of a sound recording available to countless users of a peer-to-

peer system for free certainly contemplates and encourages further distribution, both on the

Internet and elsewhere.” Id. at *3. Similarly, in another peer-to-peer copyright infringement

case, this Court “reject[ed] Defendants’ argument that merely making copyrighted works

available to the public is not enough evidence for summary judgment purposes to establish

infringement.” Maverick Recording Co. v. Harper, No. 5:07-cv-026-XR, 2008 WL 11411855, at

*3 (W.D. Tex. Sept. 16, 2008), aff’d in part and rev’d in part, 598 F.3d 193 (5th Cir. 2010)

(holding that the district court erred by denying plaintiffs’ motion for summary judgment on

defendants “innocent infringer” defense).

       Second, even if the Rightscorp notices were found not to be direct evidence of

infringement (which they are), each Rightscorp notice is powerful circumstantial evidence of

infringement through illegal distribution. It is well-established that a plaintiff “may establish

direct infringement using circumstantial evidence that gives rise to an inference that [the ISP]

6
  Other courts in this circuit have held likewise. See, e.g., Arista Records LLC v. Greubel, 453 F.
Supp. 2d 961, 971 (N.D. Tex. 2006) (finding actionable allegation that defendant “made the
copyrighted recordings available to others without permission and actively reproduced and/or
distributed the copyrighted recordings as well.”) (emphasis added). Multiple courts from other
circuits have reached the same conclusion. See, e.g., Universal City Studios Prods. LLLP v.
Bigwood, 441 F. Supp. 2d 185, 190–91 (D. Me. 2006); Motown Record Co. v. DePietro, No. 04–
CV–2246, 2007 WL 576284, at *3 (E.D. Pa. Feb. 16, 2007).

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account holders or other authorized users accessed its service to directly infringe.” BMG Rights

Mgmt. (US) LLC v. Cox Commc’ns, Inc., 149 F. Supp. 3d 634, 663 (E.D. Va. 2015) aff’d in part,

rev’d in part on other grounds, 881 F.3d 293 (4th Cir. 2018). In fact, the cases Grande cites

make this very point. See, e.g., Capitol Records, Inc. v. Thomas, 579 F. Supp. 2d 1210, 1225 (D.

Minn. 2008) (“[D]irect proof of actual dissemination is not required by the Copyright Act.

Plaintiffs are free to employ circumstantial evidence to attempt to prove actual dissemination.”);

Atlantic Recording Corp. v. Howell, 554 F. Supp. 2d 976, 983 (D. Ariz. 2008) (same).

       The fact that the Grande subscribers have offered sound recordings for downloading

through BitTorrent is strong evidence that such subscribers repeatedly shared such recordings

with untold other BitTorrent users—the very purpose of peer-to-peer systems like BitTorrent.

This is particularly the case given Grande subscribers’ proven willingness to distribute these

Copyrighted Recordings to Rightscorp—as discussed below.

       B. Grande’s Motion Wholly Ignores That Plaintiffs Produced Tens Of Thousands
          Of Full Audio Files Copied By Grande Subscribers, Including Each Of
          Plaintiffs’ Copyrighted Recordings in Exhibit A to the Complaint, Which Is Also
          Conclusive Evidence Of Direct Infringement.

       Grande contends that, even if its subscribers made files available for download, Plaintiffs

have no evidence the files were actually downloaded. See Def. Mot. at 7. This claim is also

wrong. Plaintiffs have produced conclusive evidence 7 that Grande subscribers distributed a full

copy of each and every one of Plaintiffs’ Copyrighted Recordings to Rightscorp. SUF ¶ 7; Ex. I,


7
  Grande feigns ignorance of this evidence, but Plaintiffs produced these sample infringing files
to Grande in April 2018 and further described them in an interrogatory response: “In accordance
with Federal Rule of Civil Procedure 33(d), Plaintiffs direct Defendants to the evidence that
Rightscorp collected regarding Grande’s subscribers’ online infringement of Plaintiffs’
copyrighted sound recordings, which has been produced at Bates RC-D_00000001 through RC-
D_01350635 (notices sent to Grande), [and] RC-D_01350636 - RC-D_01410446 (sample files
of sound recordings that infringing Grande subscribers shared with Rightscorp, which
Rightscorp then provided to Plaintiffs and RIAA)….” Ex. GG, UMG Pls.’ Resp. to Grande
Interrog. No. 20 (emphasis added).

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Boswell Decl. ¶¶ 13-14; Ex. H, Frederiksen-Cross Report ¶ 46(5). This is dispositive evidence

of direct infringement, which Rightscorp obtained by downloading the infringing files from

Grande subscribers.

       None of Grande’s contrary claims has any merit. Grande’s core argument is that the

“[Rightscorp] system cannot detect when, or even whether, a file has ever actually been copied.”

Def. Mot. at 2. Grande cites paragraph 46 in Ms. Frederiksen-Cross’s expert report for this

argument. Id. at 7. But Grande ignores the very next part of that same paragraph in her report,

where she states that Rightscorp “us[es] BitTorrent protocol to download samples of the offered

files from these Peers, verifying the downloaded file contents, and preserving an evidentiary

record of such downloads.” Ex. H, Frederiksen-Cross Report ¶ 46(5) (emphasis added). That is

what Rightscorp did here, downloading over 59,000 audio files that Grande subscribers shared.

Ex. I, Boswell Decl. ¶ 14.

       The audio files Rightscorp downloaded from Grande subscribers are precisely the type of

evidence that numerous courts have found to establish direct infringement.          “Courts have

consistently relied upon evidence of downloads by a plaintiff’s investigator to establish both

unauthorized copying and distribution of a plaintiff’s work.” Cox Commc’ns, Inc., 199 F. Supp.

3d at 972 (citing Arista Records LLC v. Lime Grp. LLC, No. 06–cv–5936, 2011 WL 1641978, at

*8 (S.D.N.Y. Apr. 29, 2011) (collecting cases)). See also Maverick Recording Co., 2008 WL

11411855, at *3; Warner Bros. Records, Inc. v. Walker, 704 F. Supp. 2d 460, 467 (W.D. Penn.

2010) (“It is undisputed that MediaSentry [the copyright holder’s investigator] downloaded

actual copies of nine of the Copyrighted Recordings from Defendant’s computer, establishing

unauthorized distribution as to those nine recordings.”); Thomas, 579 F. Supp. 2d at 1216 (“The

Court holds that distribution to MediaSentry can form the basis of an infringement

claim.”); Howell, 554 F. Supp. 2d at 985 (accepting that plaintiffs had proved actual distribution

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of the copyrighted sound recordings that plaintiffs’ agent had downloaded); Interscope Records

v. Leadbetter, No. C05–1149, 2007 WL 1217705, at *4 (W.D. Wash. Apr. 23, 2007) (finding

proof that MediaSentry downloaded copyrighted works was evidence of direct infringement).

       Grande resorts to arguing that dissemination through BitTorrent cannot actually

constitute infringement, “because BitTorrent operates by breaking a file up into small pieces for

transmission, and any Internet user who may download an allegedly copyrighted work would

only take a small portion of any allegedly infringing work from a particular Grande subscriber.”

Def. Mot. at 8. This argument has no support in the case law, as it disregards Cox and other

decisions finding online dissemination through BitTorrent to be infringement.               See Cox

Commc’ns, Inc., 199 F. Supp. 3d at 979; Malibu Media, LLC v. Bui, No. 1:13-cv-162, 2014 WL

12469955, at *1 (W.D. Mich. July 21, 2014) (“It makes no difference from a copyright

perspective whether the infringing copy is created in a single wholesale file transfer using a peer-

to-peer protocol; or in a swarm of fragmented transfers [using BitTorrent] that are eventually

reassembled into the new infringing copy.”). 8 It also disregards the bedrock legal principle that

“it is enough if constituent parts of each work are similar; the plaintiff is not required to show the

whole of the infringing work is similar to the whole of the copyrighted work.” Busti v. Platinum

Studios, Inc., No. A-11-CA-1029-SS, 2013 WL 12121116, at *5 (W.D. Tex. Aug. 30, 2013); see

also Mattel, Inc. v. Azrak-Hamway Int’l, Inc., 724 F.2d 357, 360 (2d Cir. 1983) (“[I]t is possible

to infringe while copying only a part of a work….”); Imperial Homes Corp. v. Lamont, 458 F.2d

895, 899 (5th Cir. 1972) (holding infringement occurs when a work is copied in part). In any


8
  See also Columbia Pictures Indus., Inc. v. Fung, 710 F.3d 1020, 1034 (9th Cir. 2013)
(affirming grant of summary judgment to plaintiff where defendant uploaded material to
BitTorrent); Clear Skies Nevada, LLC v. Kainu, No. 3:16-cv-811-AC, 2017 WL 4021121, at *8
(D. Or. Aug. 21, 2017), report and recommendation adopted, 2017 WL 4012960 (D. Or. Sept.
12, 2017) (granting summary judgment on liability because “the evidence makes clear
[Defendant] copied protected elements of the Movie” using BitTorrent).

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event, Grande’s argument is beside the point: Rightscorp indisputably has obtained at least one

complete infringing file of each of Plaintiffs’ Copyrighted Recordings from a Grande subscriber,

which plainly demonstrates that the subscribers are distributing Plaintiffs’ Copyrighted

Recordings in violation of copyright law. SUF ¶¶ 7-8.

       C. Plaintiffs’ Evidence Conclusively Demonstrates That The Infringing Files
          Rightscorp Identifies Are Plaintiffs’ Copyrighted Recordings.

       The evidence shows that the audio files that Rightscorp downloaded from Grande

subscribers include copies of each of Plaintiffs’ Copyrighted Recordings, thus satisfying this

element of a claim for infringement. Alcatel USA, Inc. v. DGI Techs., Inc., 166 F.3d 772, 790

(5th Cir. 1999). Rightscorp has a multi-step process of confirming the identity of the files for

which it monitors the internet. Rightscorp receives a list of copyrighted works (including artist

and title information) from rights holders, obtains torrent files matching those named works,

forensically scrubs these torrent files to confirm a digital match (discarding any file that does not

match), manually checks the digital match results, and only then monitors BitTorrent networks

for infringement of these files. Ex. I, Boswell Decl. ¶¶ 4-7; Ex. J., Sabec Deposition, 56:25-

60:22, 103:17-106:14; Ex. H, Frederiksen-Cross Report ¶¶ 44, 47-55.                Thus, Grande’s

unsupported claim that Rightscorp “makes no effort to authenticate or verify any information

relating to the allegations of infringement contained in the notices it sends,” Def. Mot. at 3, is

contrary to the evidence.

       Grande also ignores the second, wholly separate forensic confirmation process that the

RIAA performed in this case on the sample files that Rightscorp downloaded from Grande

subscribers. The RIAA independently compared those downloaded audio files with masters of

Plaintiffs’ Copyrighted Recordings using the Audible Magic digital fingerprinting technology.

This exercise confirmed that every single one of Plaintiffs’ Copyrighted Recordings in Exhibit A



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to the Complaint has a matching file downloaded from a Grande subscriber—and in fact, for the

great majority of Plaintiffs’ works, Rightscorp obtained multiple whole infringing copies from

Grande subscribers. Ex. L, Landis Decl. ¶¶ 11-13 & Ex. 1. 9 Numerous courts have recognized

the use of the Audible Magic software as a proper method to match an infringing file with a

copyrighted work. 10 Thus, it is beyond argument that each of Plaintiffs’ Copyrighted Recordings

were directly infringed by a Grande user.

    II.     GRANDE IS LIABLE FOR CONTRIBUTORY INFRINGEMENT.

            “A party is liable for contributory infringement when it, with knowledge of the infringing

activity, induces, causes or materially contributes to infringing conduct of another.” Alcatel, 166

F.3d at 790. See also Jaso v. The Coca Cola Co., 435 F. App’x 346, 354 (5th Cir. 2011)

(quoting Alcatel); Joseph Paul Corp. v. Trademark Custom Homes, Inc., No. 3:16-cv-1651-L,

2016 WL 4944370, at *11 (N.D. Tex. Sept. 16, 2016).

            Grande knew that its subscribers were infringing Plaintiffs’ Copyrighted Recordings and

materially contributed to their infringing conduct by choosing to continue providing the internet

service that was indispensable for those subscribers’ infringement. This conduct makes Grande

liable for secondary copyright infringement.


9
  As the Landis Declaration indicates, Plaintiffs have produced all of this evidence. Moreover,
Plaintiffs previously described this evidence to Grande.          Ex. GG, May 9-10, 2018
Correspondence (“Plaintiffs, RIAA, and Rightscorp have produced or will be producing responsive,
non-privileged documents, namely, … downloads of works infringed by Grande customers, [and]
the files and data indicating a match between the downloaded works and Plaintiffs’ Copyrighted
Sound Recordings that are the works in suit.”) (emphasis added).
10
   See e.g., UMG Recordings, Inc. v. Shelter Capital Partners LLC, 718 F.3d 1006, 1012 (9th
Cir. 2013) (“Audible Magic’s technology takes audio ‘fingerprints’ from video files and
compares them to a database of copyrighted content provided by copyright holders.”); Capitol
Records, LLC v. Escape Media Grp., Inc., No. 12-cv-6646 AJN, 2015 WL 1402049, at *23
(S.D.N.Y. Mar. 25, 2015); Arista Records LLC v. Myxer Inc., No. 08 Civ 03935 (GAF) (JCX),
2011 WL 11660773, at *5 (C.D. Cal. Apr. 1, 2011); Arista Records LLC v. Lime Wire LLC, No.
06 Civ. 05936 (KMW), 2010 WL 10031251, at *6 (S.D.N.Y. Aug. 9, 2010); Metro–Goldwyn–
Mayer Studios, Inc. v. Grokster, Ltd., 518 F. Supp. 2d 1197, 1205–06 (C.D. Cal. 2007).

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       A. Grande’s Knowledge of Its Users’ Infringement Far Exceeds the Knowledge
          Required to Establish Secondary Liability.

       “The knowledge standard is an objective one; contributory infringement liability is

imposed on persons who know or have reason to know of the direct infringement.” Arista

Records, LLC v. Doe 3, 604 F.3d 110, 118 (2d Cir. 2010). See also Cable/Home Commc’n Corp.

v. Network Prods., Inc., 902 F.2d 829, 845 (11th Cir. 1990); Variant Displays, Inc. v. Absolute

Exhibits, Inc., No. SACV 15–01685–CJC(JCGx), 2016 WL 7486281, at *2 (C.D. Cal. Feb. 12,

2016) (“[T]he Ninth Circuit has interpreted the knowledge requirement for contributory

copyright infringement to include both those with actual knowledge and those who have reason

to know of direct infringement.” (citing Ellison v. Robertson, 357 F.3d 1072, 1076 (9th Cir.

2004), and Luvdarts, LLC v. AT&T Mobility, LLC, 710 F.3d 1068, 1072 (9th Cir. 2013)); In re

Aimster Copyright Litigation, 334 F.3d 643, 650 (7th Cir. 2003) (“[I]n copyright law . . . indeed

it may be enough that the defendant should have known of the direct infringement . . . .”). 11

       Here, undisputed facts establish Grande’s actual knowledge of the copyright infringement

committed by its subscribers.       Regardless, Plaintiffs need not establish actual knowledge.

Grande’s willful blindness to, or constructive knowledge of. the ongoing infringement is

sufficient to make Grande liable.

               1. Actual Knowledge

       Grande received more than 1.35 million notices of infringement from Rightscorp,

providing detailed IP addresses, port numbers, time stamps, song titles, and other information.

SUF ¶ 6. Grande’s files reveal that it also received tens of thousands of notices from other

companies as well. SUF ¶ 11. Such detailed notice of specific infringing material available on

11
  Plaintiffs recognize that the Fourth Circuit in Cox ruled that constructive knowledge does not
suffice for contributory infringement, but that ruling is contrary to the weight of authority from
other jurisdictions, see supra. Again, however, Plaintiffs’s evidence also satisfies the Fourth
Circuit’s actual knowledge, or willful blindness standard. SUF ¶¶ 6-16.

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its system demonstrates Grande’s actual knowledge of infringement by its users as a matter of

law. As the district court found in Cox: “BMG asserts that Cox had knowledge of its users’

infringing activity because Rightscorp sent Cox more than two million infringement notices

pertaining to its copyrighted works.     Despite Cox’s arguments to the contrary, DMCA-

compliant notices are evidence of knowledge.” Cox Commc’ns, Inc., 149 F. Supp. 3d at 671-72

(emphasis added).

       In addition, Grande’s internal discussion of these notices confirms Grande’s actual

knowledge of copyright infringement on its system: “This is a notice that someone at that

facility using the Grande provided data connection (GMAN), has illegally downloaded

copyrighted content.” Ex. N, PX 69 (emphasis added); see also Ex. O, PX 137, Ex. P, PX 140,

Ex. Q, PX 169. Grande’s actual knowledge is further demonstrated by the fact that Grande

maintained reports that tracked repeat infringers, cataloging their misconduct in “Excess

Violations” reports. SUF ¶ 12.

       The very cases that Grande cites establish that Plaintiffs have satisfied the actual

knowledge standard. In Louis Vuitton Malletier, S.A. v. Akanoc Solutions, Inc., for example, the

court relied on the Ninth Circuit’s opinion in A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004

(9th Cir. 2001), that, “if a computer system operator learns of specific infringing material

available on his system and fails to purge such material from the system, the operator knows of

and contributes to direct infringement.” 591 F. Supp. 2d 1098, 1107 (N.D. Cal. 2008) (quoting

Napster, 239 F.3d at 1021).

       Similarly, in Napster, also cited by Grande, the Ninth Circuit upheld the district court’s

determination of actual knowledge based on notices Napster received from the RIAA alerting

Napster to numerous copyrighted works available for download over Napster’s system. 239 F.3d

at 1020 n.5. Here, Grande received more than 1.35 million notices detailing demonstrable

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infringement by its subscribers, including 344,450 notices relating to Plaintiffs’ Copyrighted

Recordings.   SUF ¶ 6.     The notices Grande received, which provided the IP address, the

infringing filename, and the date and time of infringement, see Ex. I, Boswell Decl. ¶ 11, Ex. H,

Frederiksen-Cross Report ¶ 72-73, satisfy even the most demanding actual knowledge standard.

       Grande’s argument to the contrary relies entirely on its assertion that Rightscorp’s notices

are not evidence of infringement because supposedly they merely identify files being made

available. As already discussed supra, this claim is both inaccurate and irrelevant. This is not a

“making available” case: Plaintiffs have produced tens of thousands of complete downloads of

their Copyrighted Recordings that Grande subscribers distributed. And Rightscorp’s notices

provide further direct evidence by describing in detail activity that constitutes infringement.

They also provide conclusive circumstantial evidence that Grande subscribers were sharing

audio files—which Rightscorp corroborated, by downloading audio files of Plaintiffs’

Copyrighted Recordings from the very Grande subscribers about whom Rightscorp sent Grande

the notices. SUF ¶ 17.

       There is absolutely no evidence Grande viewed the Rightscorp notices as unreliable or

insufficient to notify Grande of its subscribers’ infringement. Indeed, Grande’s actions and

testimony prove that the opposite is true: Grande has relied on Rightscorp notices in the ordinary

course of its business. Before this lawsuit, Grande forwarded Rightscorp notices to Grande

subscribers identified as infringers. SUF ¶¶ 12-14. Then, after this lawsuit was filed, Grande

terminated a small number of repeat infringers, including subscribers for whom it received

Rightscorp notices. SUF ¶¶ 17-18. Grande’s Rule 30(b)(6) corporate representative and its

general manager both confirmed that these customers were terminated not out of an “abundance

of caution” (as Grande claimed in its litigation discovery responses), but because they were

repeat infringers warranting termination base on Grande’s assessment of the notices. SUF ¶ 19

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(“Q. So I’m asking, did Grande terminate the 12 infringers it’s terminated since May 2017 under

its DMCA policy and procedure? A. Yes. Q. And Grande did so because it determined the

circumstances were appropriate to terminate them as repeat copyright infringers under its DMCA

policy and procedure? A. Yes.” Ex. W, S. Christianson 30(b)(6) Dep., 35:2-13). Rightscorp’s

notices provided Grande with actual knowledge, as Grande’s reliance on these notices

demonstrates.

                2. Willful Blindness

       A defendant’s willful blindness to infringement also satisfies the knowledge requirement

for contributory infringement.    See, e.g., In re Aimster Copyright Litig., 334 F.3d at 650

(“Willful blindness is knowledge, in copyright law as it is in the law generally.”) (internal

citations omitted); Berg v. Symons, 393 F. Supp. 2d 525, 539 (S.D. Tex. 2005) (citing In re

Aimster); Viacom Int’l, Inc. v. YouTube, Inc., 676 F.3d 19, 35 (2d Cir. 2012); EMI Christian

Music Grp., Inc. v. MP3tunes, LLC, 844 F.3d 79, 91 (2d Cir. 2016), cert. denied sub nom.

Robertson v. EMI Christian Music Grp., Inc., No. 16-1227, 2017 WL 1365643 (U.S. June 19,

2017) (“[A]t trial the plaintiffs could prevail by demonstrating that MP3tunes’s failure to track

users who created links to infringing content identified on takedown notices or who copied files

from those links evidenced its willful blindness to the repeat infringing activity of its users.”);

Fonovisa, Inc. v. Cherry Auction, Inc., 76 F.3d 259, 265 (9th Cir. 1996). The cases Grande cites

acknowledge as much. See Luvdarts, 710 F.3d at 1073 (“Willful blindness of specific facts

would establish knowledge for contributory liability.”).

       “A person is ‘willfully blind’ or engages in ‘conscious avoidance’ amounting to

knowledge where the person was aware of a high probability of the fact in dispute and

consciously avoided confirming that fact.” Cox Commc’ns, Inc., 149 F. Supp. 3d at 673. From

the outset of this case, Grande admitted that it consciously avoided confirming the infringement

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information provided by Rightscorp, claiming in its Motion to Dismiss that “it is infeasible for

Grande to devote the time and resources required to meaningfully investigate [these notices].”

Dkt. 33 at 1. Discovery has shown, however, that Grande’s conscious avoidance was due not to

infeasibility, but intransigence. As noted above, Grande’s own contemporaneous documents

confirm it was well aware of the infringement occurring using its system, yet Grande decided not

to terminate a single user from October 2010 until June 2017. SUF ¶¶ 4-16. And Grande’s

witnesses have admitted that if its current policy had been in place during that time period, it

would have terminated repeat infringers based on the notices it received. SUF ¶ 20. In sum,

Grande’s observing subscribers’ racking up infringement notices, and willfully refusing to act, is

the essence of willful blindness.

               3. Constructive Knowledge

       Even if Plaintiffs could not adequately show Grande’s actual knowledge (which they

can), Grande’s constructive knowledge establishes its liability as well. In the seminal case of

Gershwin Publ’g. Corp. v. Columbia Artists Mgmt., Inc., the Second Circuit made clear that a

defendant may “be held liable as a ‘contributory’ infringer if it were shown to have had

knowledge, or reason to know, of the infringing nature of the records.” 443 F.2d 1159, 1162 (2d

Cir. 1971). Courts have since repeatedly reaffirmed Gershwin. See, e.g., Metropcs Wireless,

Inc. v. Virgin Mobile USA, L.P., No. 3:08–CV–1658–D, 2009 WL 3075205, at *15 (N.D. Tex.

Sept. 25, 2009) (quoting Alcatel, 166 F.3d at 790 (quoting Gershwin, 443 F.2d at 1162)); Variant

Displays, Inc. v. Absolute Exhibits, Inc., 2016 WL 7486281, at *2 (C.D. Cal. Feb. 12, 2016)

(quoting Ellison v. Robertson, 357 F.3d 1072, 1076 (9th Cir. 2004) (“the knowledge requirement

for contributory copyright infringement [includes] both those with actual knowledge and those

who have reason to know of direct infringement . . .”) (emphasis in original); Cable/Home

Commc’n Corp. v. Network Prods., Inc., 902 F.2d 829, 845 (11th Cir. 1990).

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       Here, more than 1.35 million Rightscorp notices containing specific information

regarding the IP address, date, time, and work infringed undisputably provided Grande “reason

to know” that widespread infringement was occurring by its subscribers over its service.

Grande’s own emails and testimony confirm the knowledge Grande acquired based on these

notices. SUF ¶¶ 4-16. In fact, Grande’s general manager admitted that Grande would kick these

infringers off Grande’s internet service under its new policy. SUF ¶ 20. Thus, Grande has not

only admitted what it should have known from the Rightscorp notices, it has admitted what it

should have done with them. This goes well beyond constructive knowledge of infringement.

       B. An ISP That Provides the Facilities Used to Infringe Materially Contributes to
          the Infringement of Plaintiffs’ Copyrighted Recordings, As Well-Settled
          Precedent Establishes.

       “[P]roviding the site and facilities for known infringing activity is sufficient to establish

contributory liability.” Fonovisa, Inc., 76 F.3d at 264. In the context of computer system

operators, courts hold that a service’s enabling of infringement constitutes a material

contribution to the infringement that is sufficient to establish secondary liability. See Napster,

239 F.3d at 1021 (“[I]f a computer system operator learns of specific infringing material

available on his system and fails to purge such material from the system, the operator knows of

and contributes to direct infringement.”) (emphasis added).

       In Cox, the jury found the ISP defendant liable for contributory infringement based on the

very same conduct at issue in this case—its users’ direct infringement of copyrighted music on

the ISP’s network using BitTorrent. 199 F. Supp. 3d at 958. BMG alleged, like Plaintiffs here,

that Cox “ignored specific notices of infringing activity and continued to provide material

support to its users’ infringement of [Plaintiff’s] works despite its ability to suspend or terminate

customers with the push of a button.” Id. The court left no doubt that such conduct gives rise to

contributory liability. “There can be no question that the provision of high-speed internet

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service materially contributes to infringement via BitTorrent . . . .” Id at 979. As explained by

Plaintiffs’ expert Dr. McGarty—and unrebutted by Grande—Grande has knowingly and

willfully provided high-speed internet service to users actively engaged in widespread and

repeated infringement. SUF ¶¶ 17-19; Ex. Z, McGarty Report ¶¶ 18, 54-59. That conduct

establishes Grande’s material contribution as a matter of law.

       C. Grande’s Claim that Contributory Liability Requires Intent and Inducement
          Badly Misreads Grokster and Is Inconsistent with Settled Precedent.

       Grande tries in vain to invoke Metro–Goldwyn–Mayer Studios, Inc. v. Grokster, Ltd., 545

U.S. 913 (2005) to rescue it from the consequences of its own contributory infringement liability.

Grande’s argument rests on the notion that Grokster fundamentally rewrote all of common law

copyright infringement without acknowledging that it was doing so. Nothing in the Grokster

decision supports this illogical conclusion, and Grande cannot point to a single case (let alone a

Fifth Circuit case) holding that Grokster eliminated the well-established liability for materially

contributing to infringement.     Rather, courts have continued to apply material contribution

liability since Grokster, and neither inducement nor intent is required.

           1. Grokster Addressed Only The Inducement Theory of Contributory Liability;
              the Other Alternative Theories of Contributory Liability Remain Unaffected.

       Grande incorrectly asserts that “neither Grokster nor any other Supreme Court case

recognizes ‘material contribution’ as a separate and independent basis for contributory

infringement liability.” Def. Mot. at 13. This novel reading of the case law does not withstand

scrutiny. The U.S. Supreme Court in Grokster (1) noted that common law theories of secondary

liability are well-established, (2) dealt only with an “inducement claim” as among “other theories

of secondary liability,” and (3) did not address those other theories.

       Grokster concerned narrowing the bounds of immunity for the sale of devices into the

stream of commerce established by the Supreme Court in Sony Corp. of America v. Universal

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City Studios, Inc., 464 U.S. 417 (1984). The Grokster Court reversed the Ninth’s Circuit’s grant

of immunity under Sony, based on the facts showing that the seller of the device had induced the

infringement at issue. Grokster was not a material contribution case: it was an inducement case.

And the Supreme Court expressly limited the scope of its holding to inducement claims:

“Because Sony did not displace other theories of secondary liability, and because we find below

that it was error to grant summary judgment to the [defendants] on MGM’s inducement claim,

we do not revisit Sony further . . .” Id. at 934 (emphasis added).

       Grokster cited Gershwin, in which the Second Circuit provided the black letter definition

of contributory copyright infringement: “one who, with knowledge of the infringing activity,

induces, causes or materially contributes to the infringing conduct of another, may be held

liable as a ‘contributory’ infringer.” 443 F.2d at 1162. The Supreme Court noted in Grokster

that “these doctrines of secondary liability emerged from common law principles and are well

established in the law.” 545 U.S. at 930. The Court then addressed the inducement prong,

explaining that “[t]he rule on inducement of infringement as developed in the early cases is no

different today” and requires “[e]vidence of active steps taken to encourage direct infringement .

. .” Id. at 936. Nowhere did Grokster hold that inducement was now the only theory of

contributory liability or that material contribution requires proof of inducement. And Courts in

the Fifth Circuit have continued to apply this well settled law of contributory liability. “A party

is liable for contributory infringement when it, with knowledge of the infringing activity,

induces, causes or materially contributes to infringing conduct of another.”         MDI, Inc. v.

Lowder, NO. SA-08-CA-900-FB, 2009 WL 10669793, at *3 (W.D. Tex. Aug. 13, 2009)

(emphasis added), report and recommendation adopted, 2009 WL 10669899 (W.D. Tex. Sept. 3,

2009). See also Jaso v. The Coca Cola Co., 435 F. App’x 346, 354 (5th Cir. 2011) (quoting

Alcatel).

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           2. Well-Settled Precedent—Including Cases Cited by Grande—Reject Exactly
              the Misreading of Grokster that Grande Advances Here.

       Grande does not point to a single holding that embraces its radical reinterpretation of the

Grokster decision. Nor could it, because none exists. In fact, the very cases Grande cites

actually reject Grande’s argument, and instead confirm that the traditional theories of

contributory liability remain the standard post-Grokster. See BWP Media USA, Inc. v. Polyvore,

Inc., No. 1:13-cv-7867, 2016 WL 3926450, at *7-*8 (S.D.N.Y. July 15, 2016) (citing Grokster

and expressly distinguishing between “’materially contributing to the infringing conduct of

another” and “inducing others to infringe copyrights.”); Perfect 10, Inc. v. Amazon.com, Inc.,

508 F.3d 1146, 1171, n. 11 (9th Cir. 2007) (“[T]he Supreme Court in Grokster did not suggest

that a court must find inducement in order to impose contributory liability under common law

principles.”) (emphasis added); Perfect 10, Inc. v. Visa Int'l Serv. Ass’n, 494 F.3d at 796 (9th

Cir. 2007) (reaffirming that Grokster “focused primarily on an ‘inducement’ theory” and holding

that “[t]o state a claim of contributory infringement, Perfect 10 must allege facts showing that

Defendants induce, cause, or materially contribute to the infringing conduct.”) (emphasis

added). Grande’s reading of Grokster thus does not even survive a cursory review of the very

cases Grande cites in its motion.

       Perhaps most tellingly, the Second Circuit in MP3tunes, LLC recently cited Gershwin in

restating the well-settled theories of contributory liability: “A contributory infringer is ‘one who,

with knowledge of the infringing activity, induces, causes or materially contributes to the

infringing conduct of another.’” 844 F.3d at 99–100 (citing Gershwin, 443 F.2d at 1162). The

Supreme Court denied certiorari over that decision. In short, Grande’s argument that Grokster

overruled the Second Circuit’s Gershwin decision and rewrote the law of contributory

infringement cannot be squared with the Supreme Court’s and Second Circuit’s precedents.



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III.     THE EVIDENCE SHOWS THAT GRANDE’S INFRINGEMENT WAS WILLFUL.

         In a single paragraph, Grande briefly argues that it is entitled to summary judgment on

the issue of whether its infringement was willful. Def. Mot. at 18. The Court should reject this

argument because the evidence establishes that Grande acted willfully. 12 In Graper v. Mid-

Continent Cas. Co. (a case that Grande cites), the Fifth Circuit held that willful infringement

encompasses both intentional and reckless conduct, reasoning that where “willfulness is a

statutory condition of civil liability, [it] cover[s] not only knowing violations of a standard, but

reckless ones as well.” 756 F.3d 388, 395 (5th Cir. 2014) (citing Safeco Ins. Co. of Am. v. Burr,

551 U.S. 47, 58 (2007) (modifications and emphasis in original)). Here, there is abundant

evidence that Grande acted intentionally, or at the very least recklessly.

         x   Grande has long known of infringement by its subscribers. SUF ¶¶ 4-16.

         x   From October 2010 through the end of 2016, Grande made a conscious decision that,
             rather than terminate the repeat infringers, Grande would continue to provide them
             with internet service, thus providing material contribution to their infringement. SUF
             ¶ 17.

         x   In internal emails, Grande personnel discussed the fact that Grande never terminated
             repeat infringing customers, no matter how many notices they received about a
             customer, and recognized that this would cause Grande to lose its safe harbor defense.
             SUF ¶¶ 10-11, 22.

         x   Internal emails even indicate that Grande personnel contemplated deleting internal
             incriminating emails in the wake of the Cox verdict. SUF ¶ 16.

         x   Grande profited greatly, by as much as $102.9 million, by continuing to provide
             internet service to known repeat infringing customers. SUF ¶ 22.

Grande offers no evidence at all that its infringement was not willful. Nor can it. Indeed, the

jury in Cox, on substantially similar facts, found that such infringement was willful. 199 F.

Supp. 3d at 981. The Court of Appeals expressly upheld the district court’s willfulness jury

12
  A finding that Grande’s infringement was willful authorizes an increase in a statutory damages
award. See 17 U.S.C. 504(c)(2).

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charge, finding “contributorily (or vicariously) infringing with knowledge that one’s subscribers

are infringing is consistent with at least reckless disregard for the copyright holder’s rights.” 881

F.3d at 313. The same evidence defeats Grande’s summary judgment argument as to willful

infringement.

IV.     GRANDE’S DISCOVERY RULE ARGUMENTS ARE UNAVAILING.

        Grande contends that the discovery rule does not expand the three-year period for

damages in this case. Def. Mot. at 18. 13 But the case law is fatal to Grande’s argument. Grande

cites TIG Ins. Co. v. Aon Re, Inc. to argue that Plaintiffs have not pleaded the discovery rule

sufficiently. Grande’s reliance on that case is misplaced. TIG specifically states that “the

discovery rule need not be specifically pleaded in federal court.” 521 F.3d 351, 357 (5th Cir.

2008). And in Frame v. City of Arlington, which post-dates TIG, the Fifth Circuit made clear

that “the statute of limitations is an affirmative defense that places the burden of proof on the

party pleading it. Under federal pleading requirements, which we follow, a plaintiff is not

required to allege that his claims were filed within the applicable statute of limitations.” 657

F.3d 215, 239–40 (5th Cir. 2011).

        Here, Plaintiffs did not learn of Grande’s infringement until January 2016, when

Rightscorp first approached the RIAA with evidence of Grande subscribers’ infringement. Ex.

GG, UMG Pls.’ Resp. to Grande Interrog. No. 20; Ex. II, Declaration of Victoria Sheckler.

Grande has failed to cite any facts to the contrary or that would otherwise support its contentions.

Plaintiffs’ claims and request for damages for the entire period of infringement are timely, and

Grande is not entitled to summary judgment on this issue.

13
   Plaintiffs have evidence demonstrating conclusively that each of Plaintiffs’ Copyrighted
Recordings in Exhibit A was infringed in the three years preceding Plaintiffs’ filing suit in April
2017. Ex. I, Boswell Decl. ¶ 14. Thus, while the discovery rule does apply here for the purpose
of assessing damages, Plaintiffs can prevail on each of their claims without invoking the
discovery rule.

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 V.     GRANDE’S SUMMARY JUDGMENT ARGUMENTS REGARDING ACTUAL DAMAGES ARE
        MISPLACED; PLAINTIFFS HAVE SUBMITTED SIGNIFICANT EVIDENCE RAISING GENUINE
        ISSUES OF MATERIAL FACT.

        Grande contends that Plaintiffs should be barred from seeking their lost profits as actual

damages. Def. Mot. at 19. Plaintiffs previously have stated that they do not intend to seek as

damages Plaintiffs’ lost profits from the infringement (most recently at the August 16 hearing

before Magistrate Judge Austin), so Grande’s argument in that respect is moot. Grande further

contends that Plaintiffs should be barred from seeking Grande’s profits as part of a damages

award, claiming that there is no evidence of Grande’s profits attributable to the infringement.

Def. Mot. at 19. That claim is false. Plaintiffs have submitted expert reports analyzing and

explaining that Grande has generated substantial profits attributable to the infringement of

Plaintiffs’ Copyrighted Recordings. Ex. D, Lehr Expert Report ¶¶ 13, 42-43; Ex. K, Bardwell

Expert Report, pp. 6, 22-23; Ex. AA, Rebuttal Expert Report of Dr. Robert Bardwell, pp. 3, 10.

In particular, Dr. Lehr’s report details the substantial value to Grande of keeping internet

customers, rather than terminating them for repeat infringement, and estimates the lifetime per-

subscriber value to Grande of such repeat infringer customers. Ex. D, Lehr Expert Report ¶¶ 38-

43. This evidence is more than sufficient to create a genuine dispute of material fact on this

issue. Grande is not entitled to summary judgment.

VI.     PLAINTIFFS CONCLUSIVELY ESTABLISH THEIR OWNERSHIP OF OR EXCLUSIVE RIGHTS
        TO PLAINTIFFS’ COPYRIGHTED RECORDINGS.

        Finally, Grande argues that Plaintiffs cannot prove their ownership of some of the works

in suit and that Grande is entitled to summary judgment as to these works “unless Plaintiffs can

come forward with evidence that they own these copyrights.” Def. Mot. at 19. Plaintiffs have in

fact come forward with evidence that conclusively establishes their ownership of or exclusive

rights to all of the works. Plaintiffs are submitting with this motion declarations from executives



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employed by each of the Plaintiffs that explain and identify the relevant evidence (including

copyright certificates, contracts, and other corporate documents) establishing Plaintiffs’

ownership of or exclusive rights to each of the works in suit. Ex. A, McMullan Decl. (Universal

Plaintiffs); Ex. B, Leak Decl. (Sony Plaintiffs); Ex. C, Poltorak Decl. (Warner Plaintiffs). This

evidence conclusively proves Plaintiffs’ ownership or exclusive rights and is more than sufficient

to carry Plaintiffs’ burden of proof. See Sony BMG Music Entm’t v. Cuellar, No. CV CC-07-58,

2008 WL 11398942, at *1 (S.D. Tex. July 24, 2008) (“[P]laintiffs have provided sworn affidavits

from their respective in-house counsels confirming that they are owners or licensees of valid

copyrights. Defendant has not provided evidence to contradict plaintiffs’ sworn statements, and

accordingly the Court finds no issue of fact regarding plaintiffs’ ownership of the copyrights.”);

see also Warner Bros. Entm't v. X One X Prods., 644 F.3d 584, 592 (8th Cir. 2011). 14

                                        CONCLUSION

       Plaintiffs respectfully request that the Court (1) deny Grande’s motion in its entirety, and

(2) grant summary judgment to Plaintiffs on Grande’s liability for contributory infringement.




14
   Grande is incorrect in claiming that Plaintiffs cannot recover for copyright infringement of
individual works included on albums for which Plaintiffs own the copyrights. Def. Mot. at 20 fn.
19. “[W]hen a copyright holder or publisher issues material on an independent basis, the law
permits a statutory damages award for each individual work.” MP3tunes, LLC, 844 F.3d at 101.
Each of the Plaintiffs’ three in-house declarants state that substantially all of Plaintiffs’
respective Copyrighted Recordings are available individually online through services such as
iTunes or Spotify. Ex. A, McMullan Decl. (Universal Plaintiffs); Ex. B, Leak Decl. (Sony
Plaintiffs); Ex. C, Poltorak Decl. (Warner Plaintiffs).

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Dated: September 11, 2018      Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on September 11, 2018 all counsel of record who are
deemed to have consented to electronic service are being served with a copy of this document via
the Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).


                                            /s/ Daniel C. Bitting
                                            Daniel C. Bitting




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